Case 1:20-cr-00269-EGS Document 27 Filed 03/16/22 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

V. : Case No. 20-CR-269 (EGS)
JEFFREY LAWRENCE THOMAS, _ : FILED
Defendant. : MAR 1 6 202.

Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia

STATEMENT OF OFFENSE IN SUPPORT OF GUILTY PLEA
I. Summary of the Plea Agreement
Defendant Jeffrey Lawrence Thomas agrees to admit guilt and enter a plea of guilty to
Count Four of the Indictment charging him with Using, Carrying, and Possessing a Firearm in
Furtherance of a Drug Trafficking Offense, in violation of 18 U.S.C. § 924(c)(1).
Il. Elements of the Offense
The essential elements of the offense of Using, Carrying, and Possessing a Firearm in
Furtherance of a Drug Trafficking Offense, in violation of 18 U.S.C. § 924(c)(1), each of which
the Government must prove beyond a reasonable doubt, are:
1. The defendant committed a drug trafficking offense — to wit: Possession with Intent
to Distribute a Mixture and Substance Containing a Detectable Amount of
Marijuana;
2 During and in relation to and in furtherance of that offense, the defendant
knowingly used, carried, or possessed a firearm; and

3. The defendant did so voluntarily and on purpose, and not by mistake or accident.
Case 1:20-cr-00269-EGS Document 27 Filed 03/16/22 Page 2of5

III. Penalties for the Offense

A violation for Using, Carrying, and Possessing a Firearm in Furtherance of a Drug
Trafficking Offense, in violation of 18 U.S.C. § 924(c)(1), carries a mandatory minimum sentence
of five years of imprisonment (which must be served consecutive to any other term of
imprisonment imposed) and a maximum sentence of life imprisonment; a fine of up to $250,000;
and a term of supervised release of not more than five years; a special assessment of $100; and an
obligation to pay any applicable interest or penalties on fines and restitution not timely made. The
United States Sentencing Guideline § 5E1.2 permits the Court to impose an additional fine to pay
the costs of imprisonment and any term of supervised release and/or probation.

IV. Statement of the Facts

The following statement of facts does not purport to include all of the defendant’s illegal
conduct. It is intended to represent sufficient information for the Court to find a factual basis for
accepting the defendant’s guilty plea.

Had this case gone to trial, the Government’s evidence would prove the following:

1. On October 12, 2020 at approximately 4:10 pm, MPD officers in the Seventh
District Crime Suppression team were patrolling in the 3300 block of 10th Place SE, Washington,
D.C., when they observed two men standing next to a silver Mercedes Benz sedan. Defendant was
standing on the outside of the vehicle, in-between the driver door (which was opened) and the
vehicle. While facing the advancing patrol cars, Defendant pulled what officers immediately
recognized to be a handgun from his waistband, threw it over the roof of the car, and fled on foot.

2. While two officers pursued Defendant on foot, other officers secured the other
individual and the firearm. Defendant was apprehended in the 3300 block of 11th Street SE, placed

into handcuffs, and returned to the location of the Mercedes Benz. Search incident to arrest,

2
Case 1:20-cr-00269-EGS Document 27 Filed 03/16/22 Page 3of5

officers recovered $7,480 in United States currency, all in $100 and $20 denominations, from
Defendant’s pockets. A search of the Mercedes Benz revealed the following:

A. A medicine bottle less than half full, with a thick liquid, labeled
“Promethazine and Codeine Syrup.” This item was located in the
driver door storage compartment.

B. A digital scale that appeared to be fully functional at the time off
arrest. The scale had a green leafy residue and a smell consistent
with that of fresh marijuana. This item was located in the driver door
storage compartment.

C. A large and colorful zip-up bag labeled “Jokes Up! RUNTS”
containing approximately 15.5 ounces of marijuana and multiple
zip-up bags. This item was located in the trunk.

D. A Virginia Temporary Certificate of Registration with the name
“Thomas, Jeffrey L” printed on it.

3. The firearm was discovered to be a black and green Taurus model PT111 — G2A,
9mm caliber firearm, with serial number AAM092441. At the time it was recovered, the firearm
was loaded with one round in the chamber and 20 additional rounds in an extended magazine. The
firearm was previously reported stolen in Atlanta, Georgia on July 26, 2020.

4, Defendant was in fact in possession of the loaded Taurus model PT111 — G2A,
9mm caliber firearm on or about October 12, 2020, in the vicinity of the 3300 block of 10th Place
SE, Washington, D.C., in furtherance of his possession with intent to distribute marijuana, a

Schedule I controlled substance.
Case 1:20-cr-00269-EGS Document 27 Filed 03/16/22 Page 4of5

This proffer of evidence is not intended to constitute a complete statement of all facts
known by the parties, but is a minimum statement of facts intended to provide the necessary factual
predicate for the guilty plea. The limited purpose of this proffer is to demonstrate that there exists
a sufficient legal basis for the defendant’s plea of guilty to the charged crime. This Statement of
Offense fairly and accurately summarizes and describes some of the defendant’s actions and
involvement in the offense to which the defendant is pleading guilty.

Respectfully submitted,
MATTHEW M. GRAVES

United States Attorney

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Case 1:20-cr-00269-EGS Document 27 Filed 03/16/22 Page5of5

DEFENDANT’S ACKNOWLEDGMENT

I have read the Statement of Offense setting forth the facts related to my guilty plea to one
count of Using, Carrying, and Possessing a Firearm in Furtherance of a Drug Trafficking Offense,
in violation of 18 U.S.C. § 924(c)(1). I have discussed this Statement of Offense fully with my
attorney, Brandi J. Harden, Esq. I fully understand this Statement of Offense and I acknowledge
its truthfulness, agree to it and accept it without reservation. I do this voluntarily and of my own
free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of Offense fully.

Date: 93/15/2022, isiJeffrey Thomas

Jeffrey L. Thomas
Defendant

 

ATTORNEY’S ACKNOWLEDGMENT

I have read each of the pages constituting the Statement of Offense related to my client’s
guilty plea to one count of Using, Carrying, and Possessing a Firearm in Furtherance of a Drug
Trafficking Offense, in violation of 18 U.S.C. § 924(c)(1). I have reviewed the entire Statement of
Offense with my client and have discussed it with him fully. I concur in my client’s agreement
with and acceptance of this Statement of Offense.

Date: 3/15/2022 JEECLE—

Brandi J. Harden, Esq.
Attorney for Defendant

 
